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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                                                :
                                                :
                v.                              :       CRIMINAL NUMBER 21-cr-158 (RC)
                                                :
                                                :
KYLE FITZSIMONS

              MR. FITZSIMONS’S MOTION TO WAIVE A TRIAL BY JURY

        Federal Rule of Criminal Procedure 23(a) provides that if the defendant is entitled to a

jury trial, the trial must be by jury unless: (1) the defendant waives a jury trial in writing; (2) the

government consents; and (3) the court approves. Fed. R. Crim. P. 23.

        Pursuant to Rule 23(a), we write to inform the Court that Mr. Fitzsimons has been

advised by his attorney of his right to a trial by jury, and that Mr. Fitzsimons knowingly,

intelligently, and voluntarily waives that right and requests a nonjury trial before Your Honor.

Counsel for Mr. Fitzsimons has discussed this request with the government, and the government

consents. We are prepared to proceed on the previously scheduled trial date of June 13, 2022.

        Wherefore, for the reasons set forth above, Mr. Fitzsimons respectfully requests the Court

grant the instant motion.


                                                Respectfully submitted,

                                                /s/ Natasha Taylor-Smith
                                                NATASHA TAYLOR-SMITH
                                                Assistant Federal Defender




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                                 CERTIFICATE OF SERVICE

        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I caused a copy of the

foregoing Defendant’s Motion to Waive a Trial by Jury to be served by Electronic Case Filing

(“ECF”) upon Douglas Burton Brasher, Assistant United States Attorney, United States

Attorney’s Office, 1100 Commerce Street, Third Floor, Dallas, TX 75242, and Michael Matthew

Gordon, Assistant United States Attorney, United States Attorney’s Office, 400 North Tampa

Street, Suite 3200, Tampa, FL 33602.



                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender

DATE:          May 20, 2022




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